              Case 2:08-cr-20021-RTD Document 54                               Filed 03/12/09 Page 1 of 5 PageID #: 122
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              (Rev.06/05)
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                                                                      Districtof                              tu
           I]NITEDSTAI'ESOFAMERICA                                            JUDGMENTIN A CRIMINAL CASE
                      V.
                                                                              CaseNufiber:                    2:08CR20057-001
               ]'AMMY ANN MARPLH
                                                                              USM Number:                     07957-010

                                                                              Mark E. Ford -
                                                                                       Attomcy
                                                                              Defendnnt's
THE DEFIINDANTT
        guiltyto coun(s)
X pleaded
E pleadednolo cont*n6.1s16s6unt(s)
  which was aoccptddby the court.
! was found guilty on coun(s)
  after a pleaofnot guiltY.

                           guilty ofthese offenses:
The defondontis ad.iudicated

'Iitlc                            Nst! re qf{lff€lEe                                                            Offcn$aindEd              Cou!t
         &lsq$!n

                                  Useofa ConrmunioationFacility in Furtheranccofthe llistribution                    12/12/2005              I
2l u.s.c.$843(b)
                                  of Methamphctamine



                                                                                                              'fhe
       The dcfcndrrntis sentencedas provirledin pages2 through              ofthisjudgftent.                         sentenceis imposedwithin the
statutoryrsngeandthe lJ.S. SentEncingCuidelines  wcrc          as
                                                      cdnsidered  advisory'


E'lhe defendanthasbcefl found not guilty on cdun[(s)
X Count(s) One(l) OftheSupdsedin                                                                     on themotion()lthe8ov€rnment-
                                                                                          is dismissed

                                  defendontmustnohty the lJnitedStatesattomeylbr this d-istrictrtithin30 daysofany
                      edthat the defi                                                                                       ofname, resipe;1c3'
                                                                                                                      cJrange
           It is ordered                                                                                                      topavresritutidn'
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or matllng   ao(lrcss ;;t'iffiiiffiil:;:'iiilii;il;;;"d;'arii;pdi;"I'ii-iii
           s address        tlll I lllE$, rrFr
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                      unlll                                                             bythisjudgment
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the   dofcfl-dflntnlustrnotifu     ooult flfld United Statesattorncyol lllflteri&lchangesln cconomlcclrculnsranccs'
                        notiry the court


                                                                              Dnteof lFFoFition uf ]udBmtDt



                                                                              Signdture
                                                                                      ofJudge




                                                                               Honorable Robert T, Dawson. United Sta
                                                                               Numeatd Titte ofJudEc


                                                                               Marchl?, 2009       -
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                  Case 2:08-cr-20021-RTD Document 54                            Filed 03/12/09 Page 2 of 5 PageID #: 123
AO ?458          (Rcv. 06/)5) JudgmEntin ilCrinlilnl Cas,]
                 Sheet 4 "-frobation
                                                                                                            Judgdtent Fagc -3-      uf

DEFENDANT:  TAMMY ANN MARPLE
CASENUMBER: 2:08CR20057-001
                                                                     PROBATION

Thd defefldantis herebysentencedto Probationfor fl teftr of i               fiYe (5) yeflrg




 'l
      he defendantshallnot commit anotherfederal.stateor local crirne
                                                                                shall refrain from any unlawful useofa controllcd
                                                                    The^dclcndant
      The defendantshall not unlawfully possessa qontrclledsqfsta_1cg.
 ;dft;;;-." il; d;i;;A;i;ii;ii;n'b''iiit;;d'a-1i,e iiiiiifili                            onprobation
                                                                        ilslayi oipl$cement                  periodic
                                                                                                  andatlcasttwd       drustests
 thercaitcr,asdcterminedby the court,

 !                                                            on the court's detenflinationthat the defendantposesa low risk of
             The abovcdrug tesringcondition is suspended,ba.sed
             futttresubskrnceabuse. (Check,if applicablo.)
                                                                                                                          (Check' ifapplicable')
 X                         shallnot possessa fireann, ammunition,deshuctivedevice,or any dther dsngerousweapon
             l1e det'enrlant

 X           Thc 4cfcnr6nrshallcooperatein the collectionoft)NA as dircctcdby the probationofficer. (Check,ifapplioablc.)

 fl          The defendantshullregisterwith the stfltesex offenderregistrationagencyin thc ctdt€where the defendantresides'worhs,or is a
             studcnt,ns ditcctedby the probationofTlcer' (Check' ifaPplioablc.)

 fl          The dcfcndaatshallpanicipatein an approvedprogramfor domesticviolcn{rc. (check, ifapplicable.)
                                                                                                                                      of
           lfthis iudsmentimposcsa fino or reslitution,it is a conditionofprobationthat the defendantpty in accordancewith the Schedulc
 Paynents shcci of this j udgirent.
           'l                                          oonditionsthathavebeenadoptedby this courtaswell aswith anyadditionalconditions
              he defend0ntmustcomply with the standarcl
 on the flttached  page.

                                                STANDARDCONDTTIONSOF SUPERVISION
       l)      the defendantshall not leavethejudicial district lvlthout the permissionofthc coud dr probstionofficer;
                                                                                                                                                 of
       Z)      thcdcfcndsntshflll repon to the probationofficer and shall submita truthl'uland completewritten r€portwithin thc fiftt five dflys
               eflchrnonth;
       3)      the defendantshall answertruthfully all inquirics by the probationoflicer and follow the instructionsofthe probttion officerl
       4)      the defendantshall suprporthis or hvr deptndtnts md tneet othet family rcsponsibilities;
                                                                                                                               training, or other
       5)      the dcfcnddfltshdl work regularly flt tl lfl\4ful occupation,unlessexcusedby thc probationofficer for schooling'
               acccbtrrble
                         feasons:
       6)                   shall notify the probationofficer $t leostten daysprior to any changcin residenceor employment;
               the def'endant
       ?l'     the defendantshaltrefrain from ercessiveuseofalcohol and shall not purchase,possess,.usc, distribule,or fldmiristerany controllcd
               subsranceor any paraphernaliarelatedto any controlledsubstanccs, cxscpt as prescrlbeoby a pnysrcran;

       B)      the defendantshall not frequentplaceswhcrc controlledsubstances are illegally sold, used,distributcd,or adffinistered;

       9)                                      with rrnypersonsengRgedin_criminalactiviry and shall not associatewith nny personconvictedol a
               the defendantshall not associiltL.
                      unlcss
               t-elony,      grantcd peffiission to do so by the prob{rtlonotllcen
      l0l'     rhe defendanrshallperrnita probationoffrcer to visit him orher at any time at homc or clsewhereand shall permitconfiscationofany
               contsbandobservedin plain view ofthe probationolhocr;
      ll)      the dcfendafltshallnotiP the probationoffrcer within seventy-twohoursofbcing {ffcsted or questionedby a law cnforccmentofficer;
                                                                                   or a rpccial agentof n law enforcernentagcncywithottt the
      12)' the dcfcndafl!shall nor enter into any flgreetnentto act as an informer
           oermissionofthe court: flnd
      l:1) asdircctcrtby the orobationoffrcer.the defendantshallnotrrythrrdpaniesofrisks that may be occasionedby the detbndant'scriminal
       "''
               i.'"i'ijtiiiiriiirlrl                                                                                                 undto confirmrhe
                                       iiilr-t"iv'#.ii'"iii;':istiilHii :'ffiit ii#tt tt " ?lJtiiion oincerto riiatresuchnotilicitions
               defendant'scomolianccwith such notiticationrequirement'
              Case 2:08-cr-20021-RTD Document 54                         Filed 03/12/09 Page 3 of 5 PageID #: 124
4A( ) 1458    (REv.06115)Jud8mcntin a CriminBl (lErc
              ShcEt4C - Prob8ti{h
                                                                                                                   -i-      or
                             '|AMMY ANN MAR.PLE
Dh]Fh;NDAN.I.;
CAStiNUM[IER:                2:08CR20057-001

                                           SPECIAL CONDI'I'IONS OF SUPERVISION

                                                                                                                 IJuring honre
                     Dcfcndantshall servethe llrst l2 monthsofprobation_onhom€detentionwith electronicm.onitoring'
                                                                                                       fron theu.s..ProbAtion
                                                            teavltii dCiitinii fdranyreason
                     a".iliiiiiln.titii-il-fi|ol*niifiiitt-not                             withoutauthorization
                                                                                                 for employr$ent,
                     bH'iiit.'ti ia#iriiffi, iu-tiJliirittroriieilii-atiowiiio tetrietrertesidence                  educ$tion'
                                                                                                              medical,
                     communityservice,or religious purposesonly.

                                                                                                                   referral-dcemed
             2.      ln additionto the flrandatdrydrug tesrirg rcquircments,the defEndantshall conrplywith,anyor testrdglor subslaflce
                                                                                                                                 -aPproPriatc
                     i,ii# tj:S. F";ffiidiiOifiitiior"in-pati6fll 6r out-p{tiint evnluntion,rrcntflent, cdunscling
                     sbuce.
                                                                                                                                     I hited
             3.      The defendantshall submit his person,residence,placeofemployment, md vghicleto a searchconjllqted-by-the  ofevidence  of
                                                                                               uponreasonable
                                                                                           based
                                                             il;i;;.ii i'i;;;aFilrbt"'i'annei
                     iii,L"."iidfiiiitii'6}rtii;i; ,6;,ijn},tft                                              suspicion
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                                                                                         wqms.ny                           mrrvbe
                                                                                                            thatthcirpremises
                                                                                            may groundsfor rcvocation-
                     ,utioci to-scarihpursuantto this cond-iiloir--Fiilureloiubnrit to a search   be
               Case 2:08-cr-20021-RTD Document 54                                            Filed 03/12/09 Page 4 of 5 PageID #: 125
O l45B                   Jud8,ll)entin s (:rimnral Cs.sc
             (Rev. 015/05)
                 5 -Criininnl MonstarvPcnsltics
             ShcEt
                                                                                                                          Jud8morl -   Psgc   4                     5

DEFENDANT:                            TAMMYANN MARPI,E
CASENUMBER:                           2:08CR20057-001
                                            CRJM INAL MONETARY PENALTIES
     I hc dEfendnnlrnustpsy thc totsl criminul monelnrypanslti+sundcr thc sch€dulEofp$yfteNs on 3hc0t6


                                                                                      I!$                                       Rrttitutlon
TOTALS               $    100.00                                                    $ 1,000,00                                $ -0-



E    Ihc dctEminli{)nofrestitutionis d€f'Err.d
                                             until                                  An Arf,qndedJud4m{nt in 4 C mtMI (ld.rs(AO:45C) lvill t}e cntqrcd

     ft€r $uchdetefl
                  ninEtion.


n                                 (inoluding
                mnstmrkcrcsrrrution
     the defendanl                         community         k) thEfollowingpnyees
                                                   rqstitution)                  in thoflnountlirtcd b€low.


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Tr.ryI.glrs                                               otrl Losr*




TOrAl,$



D        Rcstitutiona0$unt ordcrcdFursuantto FlEudBreemellt $


tr       The defendantmust pay intefeston restitutionand a tinc ofmore than $?,500,unlessthe restitutionor tine is paid itt full beforethc
         fifteenthday afferthc dateofthejudgment, pur$uantto tB U,S.C.$ 361?(f). All ofthe paymentoptionson Sheet6 may be subjeot
         to penaltiesfbr delinquencyand default,purcuarttto l8 U.S,C.$ 3612(g).

tr       The cout detcrminedthtrtthe defendantdocsndt hAvethe sbility to pay intcrcstsnd it is orderedthatr

         i    thc iflterestrequirementis waivtd for the                  !       fine   fl   rcstitrttion.

         !    the interestrequirementfor the                n     fine       I     restitutionis modified as follows:



* Findirss for thc totalamountoflossesarerequiredunderChspte$ 109A, | 10,I l0A, and 1l3A ofTjtle I I for offensescornrnittcdon or ttfter
Septernbtr13, 1994,but beforeApril 2.1,1996.
          Case 2:08-cr-20021-RTD Document 54                                    Filed 03/12/09 Page 5 of 5 PageID #: 126


                           .TAMMY ANN MARPLE
I]EFENDAN'T:
CASENUMBER:                            |
                           2i08CR20057-00

                                                                 OFPAYMENTS
                                                         SCTIEDULE

Having ass$sedthe defcndarrt'sability to psy, p8ymentofthe total ffiminal monetarypenaltiesare due ns follows:

A    X   Lump sum paymefltof$                                   due inmediately' brlancedue

         tr     notlaterth8n                                         'dt
         a      in accordtnce           E    c,     il    L),   tr     E, or     X F bclowi or

B                               (maybecombined
             to begiflimnrediat€ly
     H Psyrhcnt                              with                              tr c,       ! D, or   E f below);or

c f 1 P6ymefltin egual                              (d.g.,weekly, monthly,quarterly)inslallrnentsof $                      over a pcriod of
                                                                                                                                     or
                                                                                       (e'g.,:0 or 60 days)aftetthedatcof this.iudgment;
                          1".g.,mo;i-r o. yeors),to commenoe-*-
D t r Payrnentin equal                         (e,g.,weekly, monthty,quattcrly) in$tallmentsof $ -,-              over s Feriodof
                                nlonthsot years),td commeflce             (e g', 30 or 60 days)allcr releaseltom hnprisonlllcntto a
                          1",g.,                              -*
                           or
          temrot suDervtslon:

E    !    Psym€ntduringthetefmofsupervised       will contmencc
                                           release             withirr --          (c.g.,30 or 60 days)affettclcase  from
          imDrisonmcnt,
                      The cduftwill setthepaylndnt
                                                 plar b$sedon atl         ofthe
                                                                 assessment                ability
                                                                                defendflnl's       to pflyat thattilne;or

F                        regarding
     X Spccialinstructions                                    penalties:
                                 thepaymentof criminalrnonetary



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irlprisonment. Alt crimiflat monetary'pe_naltie!,.excdptlhose puiments ,iiil? iliitt     ihi Federat Eureau cf Pri-sdls'lnmatc Firrarcial
Re'sponsibilityPtogram,are ftude to the clcrk ofthe court

The det'cndantshall receive ffedit for all p{yments pffiviously madc t$w{rd flny crirrinel monetary penaltics iDlposed.




fl   Joint $rd Several
                                                                                                                  Amount,
     Defefldantand Co-DefendontNamesand CaseNumbrrs (includingdefendantnumber), Ibtttl Atrroullt,J{:rintand Several
     dnd conespdndingpayec,if approptiate'




t     The defcndantshall pay the costofprcsecution

il    The defendantshall pfly thEfollowing coult cost(s);

 tr 'Ihe defendantthall forfeit thc defendant'sinterestin the following propertyto the United $tates:


pavnrenrs   shnllbcappliedin thefollowingorder:(l) assessrlqqt,                 principql,
                                                                  (2) restitution                              (4) fineprincipal,
                                                                                     'of (3) rcstitution.interest,
tsliiitC iiiliit,                            (z)
                  t6itb'iirnuniti.eiiitution",   peria[ties,
                                                          and(8) cbsts, includinfcost   pri'secutionatldcaurtc{sts.
